
*143OPINION.
Morris:
At the hearing of this proceeding the respondent, relying upon the case of Charles Colip, 5 B. T. A. 123, and other decisions to the same effect, moved for judgment on the pleadings, ruling on which was held in abeyance until such time as petitioner could prepare and file a brief pointing out errors of law which he claimed had been committed in the decision of that case, tie admitted, however, that the issue herein is controlled by that decision but contends that, the case has been incorrectly decided and should be overruled. We have carefully considered the arguments set forth in the petitioner’s brief and have studied the doctrine laid down in Charles Colip, supra, but in view of the express terms of the statute we adhere to that decision.

Judgment will he entered for the respondent.

